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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



Novenergia II – Energy & Environment (SCA),
Société d’Investissement à Capital Risque


                                      Petitioner,
                                                       Civil Action No. 18 Civ. 1148 (TSC)
                       v.


The Kingdom of Spain,

                                    Respondent.


                  DECLARATION REQUESTING FOREIGN MAILING


       I, the undersigned, counsel of record for Petitioner, admitted pro hac vice in this matter,

respectfully request that the Clerk mail the following to be delivered to the Court in hard copy:

       1) Two sets of the following documents in English, and two sets in Spanish, to be served
          upon the Respondent:

           a) Petition to Confirm Foreign Arbitral Award (Dkt. No. 1);

           b) Notice of Filing of Petition to Confirm Foreign Arbitral Award (Dkt. No. 1-1);

           c) Summons with accompanying Notice of Right to Consent to Trial Before a United
              States Magistrate Judge (Dkt. Nos. 1-2, 4);

           d) Civil Cover Sheet (Dkt. No. 1-3);

           e) Proposed Order (Dkt. No. 1-4);
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            f) Declaration of Fernando Mantilla-Serrano, with exhibits (Dkt. Nos. 2, 2-1 to 2-
               3)1;

            g) Corporate Disclosure Statement (Dkt. No. 3); and

            h) Summary of the Documents to Be Served and Warning (from the Hague
               Convention’s Model Form);

        by Federal Express pursuant to 28 U.S.C. § 1608 to:

                                F.A.O. Dolores Delgado
                                Ministra de Justicia
                                Ministerio de Justicia
                                San Bernardo, 45
                                28015-Madrid
                                Spain


                                F.A.O Consuelo Castro Rey
                                Abogado General del Estado
                                Abogacía General del Estado
                                Dirección del Servicio Jurídico del Estado
                                Ayala 5, First Floor,
                                28001-Madrid
                                Spain


        I certify that this method of service is authorized by the domestic law of the Kingdom of

Spain, and that I obtained this information by reviewing available data provided on the U.S.

Department of State’s website, accessible via the following link :

https://travel.state.gov/content/travel/en/legal/Judicial-Assistance-Country-

Information/Spain.html.




1
        Please note that the English text of the Energy Charter Treaty used as Exhibit 2 is from 2080
U.N.T.S. 100, and the Spanish version is the Spanish-language version from the Energy Charter Treaty
website, https://energycharter.org/fileadmin/DocumentsMedia/Legal/ECT-es.pdf.

                                                   2
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July 6, 2018


                                 /s/ Claudia T. Salomon
                                 Claudia T. Salomon (pro hac vice)




                                         3
